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From: Christina Spradley
[mailto:christina@barfieldassociates.com]
Sent: Thursday, March 1, 2018 3:33 PM
To: 'Tanya Batten' <t.batten01 @gmail.com>
Subject: NEW ORDER FILES
Importance: High

NEW ORDER FOR YOU & AS WELL AS A
REGIONS HERE FOR YOU AT THE OFFICE.

Christina Spradley
Office Manager

Barfield & Associates, LLC

Ocala

Phone 352.861.2522 | Fax 352.861.2177
Orlando

Phone 407.284.1997 | Fax 407.730.3584
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